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   Attorneys for Defendants
 9 Carey G. Howe, Ruddy Palacios,
   Shunmin Hsu, and Oliver Pomazi
10
11
12                      IN THE UNITED STATES DISTRICT COURT
13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
     FEDERAL TRADE COMMISSION,               Case No. SACV 19-02109 JVS (ADSx)
15
16        Plaintiff,                         Assigned to Hon. James V. Selna
                                             Courtroom 10C
17
     v.
18                                           DEFENDANT CAREY HOWE’S
     AMERICAN FINANCIAL SUPPORT              ANSWER TO THE FEDERAL TRADE
19                                           COMMISSION’S COMPLAINT
     SERVICES INC., et al.,
20
                                             DEMAND FOR JURY TRIAL
          Defendants.
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                       DEFENDANT CAREY HOWE’S ANSWER TO COMPLAINT
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 1         Defendant Carey Howe (“Defendant”), by and through his undersigned counsel,
 2 responds to the complaint (“Complaint”) filed by plaintiff the Federal Trade Commission
 3 (“FTC”), as follows.
 4                                   GENERAL RESPONSES
 5         Except as expressly admitted herein, Defendant denies any and all material
 6 allegations in the Complaint. The numbered paragraphs of this answer correspond to the
 7 paragraphs numbered in the Complaint. To the extent the paragraphs in the Complaint are
 8 grouped under headings, Defendant responds generally that such headings and groupings
 9 are conclusions of law or fact and denies each and every such allegation made or implied
10 by such headings or groupings.
11         Further, the Complaint lumps together various entities and individuals and describes
12 them all as “Defendants”, falsely assuming that all “Defendants” were working together
13 with knowledge and insight into each others’ alleged actions. This renders each and every
14 paragraph that does not specify the particular “Defendant” to which the alleged conduct
15 pertains vague and ambiguous and impossible to answer other than to allege a lack of
16 information and belief.
17                          RESPONSES TO SPECIFIC PARAGRAPHS
18         1.     Defendant is without sufficient information or belief as to the FTC’s authority
19 for bringing this action under the statute cited in the first sentence as against all of the
20 Defendants. Further, Defendant denies that the FTC has the authority to obtain the relief
21 set forth in the first sentence, denies that he has violated the FTC Act and the Telemarketing
22 Act, and denies that he engaged in “ongoing deceptive marketing and sale of student loan
23 debt relief services.”
24         2.     Defendant lacks knowledge or information sufficient to form a belief as to the
25 truth of the allegations set forth in this paragraph and denies them on that basis.
26         3.     Defendant admits the allegations in this paragraph of the Complaint.
27         4.     Defendant admits the allegations in this paragraph of the Complaint.
28         5.     The allegations in this paragraph are legal arguments or conclusions that do

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 1 not require a response. To the extent a response is required, Defendant denies those
 2 allegations.
 3         6.     The allegations in this paragraph are legal arguments or conclusions that do
 4 not require a response. To the extent a response is required, Defendant denies those
 5 allegations. Defendant further specifically denies that the FTC has authority to seek
 6 rescission or reformation of contracts, restitution, the refund of monies paid, or
 7 disgorgement.
 8         7.     Defendant lacks knowledge or information sufficient to form a belief as to the
 9 truth of the allegations set forth in this paragraph and denies them on that basis.
10         8.     Defendant admits that Arete Financial Group is a California corporation that
11 did business as Arete Financial Freedom at the Dyer Road address until November 2019.
12 Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
13 remaining allegations set forth in this paragraph and denies them on that basis.
14         9.     Defendant admits that Arete Financial Group is a California limited liability
15 company that did business as Arete Financial Freedom at the Dyer Road address until
16 November 2019 and that its original registration contained a typographical error in the word
17 “Finacial” that was subsequently corrected by its dissolution in or about March 2018.
18 Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
19 remaining allegations set forth in this paragraph and denies them on that basis.
20         10.    Defendant admits the first three sentences of this paragraph. Defendant lacks
21 knowledge or information sufficient to form a belief as to the remaining allegations set forth
22 in this paragraph and denies them on that basis.
23         11.    Defendant lacks knowledge or information sufficient to form a belief as to the
24 truth of the allegations set forth in this paragraph and denies them on that basis.
25         12.    Defendant lacks knowledge or information sufficient to form a belief as to the
26 truth of the allegations set forth in this paragraph and denies them on that basis.
27         13.    Defendant admits the first two sentences of this paragraph. Defendant lacks
28 knowledge or information sufficient to form a belief as to the remaining allegations set forth

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 1 in this paragraph and denies them on that basis.
 2         14.    Defendant lacks knowledge or information sufficient to form a belief as to the
 3 truth of the allegations set forth in this paragraph and denies them on that basis.
 4         15.    Defendant admits that he was a director of Arete Financial Group (a California
 5 corporation) and a member of Arete Financial Group, LLC. Defendant further admits that
 6 he resides in the Central District of California. Defendant lacks knowledge or information
 7 sufficient to form a belief as to the truth of the remaining allegations set forth in this
 8 paragraph and denies them on that basis.
 9         16.    Defendant lacks knowledge or information sufficient to form a belief as to the
10 truth of the allegations set forth in this paragraph and denies them on that basis.
11         17.    Defendant admits that Mr. Hsu was an officer and director of Arete Financial
12 Group (a California corporation) and a member of Arete Financial Group, LLC. Defendant
13 further admits that Mr. Hsu resides in the Central District of California. Defendant lacks
14 knowledge or information sufficient to form a belief as to the truth of the remaining
15 allegations set forth in this paragraph and denies them on that basis.
16         18.    Defendant admits that Mr. Palacios was an officer and director of Arete
17 Financial Group (a California corporation), a member of Arete Financial Group, LLC, and
18 a director of Diamond Choice. Defendant further admits that he resides in the Central
19 District of California. Defendant lacks knowledge or information sufficient to form a belief
20 as to the truth of the remaining allegations set forth in this paragraph and denies them on
21 that basis.
22         19.    Defendant admits that Mr. Pomazi was a member of Arete Financial Group,
23 LLC. Defendant further admits that Mr. Pomazi resides in the Central District of California.
24 Defendant lacks knowledge or information sufficient to form a belief as to the truth of the
25 remaining allegations set forth in this paragraph and denies them on that basis.
26         20.    Defendant lacks knowledge or information sufficient to form a belief as to the
27 truth of the allegations set forth in this paragraph and denies them on that basis.
28         21.    Defendant lacks knowledge or information sufficient to form a belief as to the

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 1 truth of the allegations set forth in this paragraph and denies them on that basis.
 2         22.    Defendant denies the allegations in this paragraph.
 3         23.    The allegations in this paragraph are legal arguments or conclusions that do
 4 not require a response. To the extent a response is required, Defendant denies those
 5 allegations.
 6         24.    Defendant lacks knowledge or information sufficient to form a belief as to the
 7 truth of the allegations set forth in this paragraph and denies them on that basis.
 8         25.    Defendant lacks knowledge or information sufficient to form a belief as to the
 9 truth of the allegations set forth in this paragraph and denies them on that basis.
10         26.    Defendant lacks knowledge or information sufficient to form a belief as to the
11 truth of the allegations set forth in this paragraph and denies them on that basis.
12         27.    Defendant lacks knowledge or information sufficient to form a belief as to the
13 truth of the allegations set forth in this paragraph and denies them on that basis.
14         28.    Defendant lacks knowledge or information sufficient to form a belief as to the
15 truth of the allegations set forth in this paragraph and denies them on that basis.
16         29.    Defendant lacks knowledge or information sufficient to form a belief as to the
17 truth of the allegations set forth in this paragraph and denies them on that basis.
18         30.    Defendant lacks knowledge or information sufficient to form a belief as to the
19 truth of the allegations set forth in this paragraph and denies them on that basis.
20         31.    Defendant lacks knowledge or information sufficient to form a belief as to the
21 truth of the allegations set forth in this paragraph and denies them on that basis.
22         32.    Defendant lacks knowledge or information sufficient to form a belief as to the
23 truth of the allegations set forth in this paragraph and denies them on that basis.
24         33.    Defendant lacks knowledge or information sufficient to form a belief as to the
25 truth of the allegations set forth in this paragraph and denies them on that basis.
26         34.    Defendant lacks knowledge or information sufficient to form a belief as to the
27 truth of the allegations set forth in this paragraph and denies them on that basis.
28         35.     Defendant lacks knowledge or information sufficient to form a belief as to

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 1 the truth of the allegations set forth in this paragraph and denies them on that basis.
 2         36.    Defendant lacks knowledge or information sufficient to form a belief as to the
 3 truth of the allegations set forth in this paragraph and denies them on that basis.
 4         37.    Defendant lacks knowledge or information sufficient to form a belief as to the
 5 truth of the allegations set forth in this paragraph and denies them on that basis.
 6         38.    Defendant lacks knowledge or information sufficient to form a belief as to the
 7 truth of the allegations set forth in this paragraph and denies them on that basis.
 8         39.    Defendant lacks knowledge or information sufficient to form a belief as to the
 9 truth of the allegations set forth in this paragraph and denies them on that basis.
10         40.    Defendant lacks knowledge or information sufficient to form a belief as to the
11 truth of the allegations set forth in this paragraph and denies them on that basis.
12         41.    Defendant lacks knowledge or information sufficient to form a belief as to the
13 truth of the allegations set forth in this paragraph and denies them on that basis.
14         42.    Defendant lacks knowledge or information sufficient to form a belief as to the
15 truth of the allegations set forth in this paragraph and denies them on that basis.
16         43.    Defendant lacks knowledge or information sufficient to form a belief as to the
17 truth of the allegations set forth in this paragraph and denies them on that basis.
18         44.    Defendant lacks knowledge or information sufficient to form a belief as to the
19 truth of the allegations set forth in this paragraph and denies them on that basis.
20         45.    Defendant lacks knowledge or information sufficient to form a belief as to the
21 truth of the allegations set forth in this paragraph and denies them on that basis.
22         46.    Defendant lacks knowledge or information sufficient to form a belief as to the
23 truth of the allegations set forth in this paragraph and denies them on that basis.
24         47.    Defendant lacks knowledge or information sufficient to form a belief as to the
25 truth of the allegations set forth in this paragraph and denies them on that basis.
26         48.    Defendant denies the allegations in this paragraph.
27         49.    The allegations in this paragraph are legal arguments or conclusions that do
28 not require a response. To the extent a response is required, Defendant denies those

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 1 allegations.
 2         50.    The allegations in this paragraph are legal arguments or conclusions that do
 3 not require a response. To the extent a response is required, Defendant denies those
 4 allegations.
 5         51.    Defendant lacks knowledge or information sufficient to form a belief as to the
 6 truth of the allegations set forth in this paragraph and denies them on that basis.
 7         52.    Defendant lacks knowledge or information sufficient to form a belief as to the
 8 truth of the allegations set forth in this paragraph and denies them on that basis.
 9         53.    The allegations in this paragraph are legal arguments or conclusions that do
10 not require a response. To the extent a response is required, Defendant denies those
11 allegations.
12         54.    The allegations in this paragraph are legal arguments or conclusions that do
13 not require a response. To the extent a response is required, Defendant denies those
14 allegations.
15         55.    The allegations in this paragraph are legal arguments or conclusions that do
16 not require a response. To the extent a response is required, Defendant denies those
17 allegations.
18         56.    The allegations in this paragraph are legal arguments or conclusions that do
19 not require a response. To the extent a response is required, Defendant denies those
20 allegations.
21         57.    The allegations in this paragraph are legal arguments or conclusions that do
22 not require a response. To the extent a response is required, Defendant denies those
23 allegations.
24         58.    The allegations in this paragraph are legal arguments or conclusions that do
25 not require a response. To the extent a response is required, Defendant denies those
26 allegations.
27         59.    The allegations in this paragraph are legal arguments or conclusions that do
28 not require a response. To the extent a response is required, Defendant denies those

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 1 allegations.
 2         60.    The allegations in this paragraph are legal arguments or conclusions that do
 3 not require a response. To the extent a response is required, Defendant denies those
 4 allegations.
 5         61.    Defendant lacks knowledge or information sufficient to form a belief as to the
 6 truth of the allegations set forth in this paragraph and denies them on that basis.
 7         62.    The allegations in this paragraph are legal arguments or conclusions that do
 8 not require a response. To the extent a response is required, Defendant denies those
 9 allegations.
10         63.    Defendant lacks knowledge or information sufficient to form a belief as to the
11 truth of the allegations set forth in this paragraph and denies them on that basis.
12         64.    The allegations in this paragraph are legal arguments or conclusions that do
13 not require a response. To the extent a response is required, Defendant denies those
14 allegations.
15         65.    Defendant lacks knowledge or information sufficient to form a belief as to the
16 truth of the allegations set forth in this paragraph and denies them on that basis.
17         66.    The allegations in this paragraph are legal arguments or conclusions that do
18 not require a response. To the extent a response is required, Defendant denies those
19 allegations.
20         67.    Defendant lacks knowledge or information sufficient to form a belief as to the
21 truth of the allegations set forth in this paragraph and denies them on that basis.
22         68.    The allegations in this paragraph are legal arguments or conclusions that do
23 not require a response. To the extent a response is required, Defendant denies those
24 allegations.
25         69.    The allegations in this paragraph are legal arguments or conclusions that do
26 not require a response. To the extent a response is required, Defendant denies those
27 allegations.
28         70.    The allegations in this paragraph are legal arguments or conclusions that do

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 1 not require a response. To the extent a response is required, Defendant denies those
 2 allegations.
 3         71.    The allegations in this paragraph are legal arguments or conclusions that do
 4 not require a response. To the extent a response is required, Defendant denies those
 5 allegations. Further, Defendant specifically denies that the FTC’s authority to seek
 6 equitable remedies allows it to seek, and the Court to impose, all of the remedies set forth
 7 in the last sentence of this paragraph.
 8         72.    The allegations in this paragraph are legal arguments or conclusions that do
 9 not require a response. To the extent a response is required, Defendant denies those
10 allegations.    Further, Defendant specifically denies that the FTC’s authority to seek
11 equitable remedies allows it to seek, and the Court to impose, all of the remedies set forth
12 in this paragraph.
13                                   PRAYER FOR RELIEF
14         Defendant asserts that no response is required to the allegations in paragraphs A
15 through E of the Prayer for Relief. To the extent a response is required, Defendant denies
16 the allegations and denies that the FTC is entitled to the relief requested.
17                                 AFFIRMATIVE DEFENSES
18         Without admitting any wrongful conduct on Defendant’s part, and without admitting
19 Plaintiff or consumers have suffered and losses, damages, or injuries, or are entitled to any
20 of the relief sought by way of the Complaint, Defendant alleges the following affirmative
21 defenses.
22         By designating the following affirmative defenses, Defendant does not waive or limit
23 any defense that are or may be raised in its denials, allegations, and averments set forth in
24 this answer. Certain affirmative defenses are asserted for completeness and refer to facts
25 and proof that negate required elements of Plaintiff’s claim. By raising such defenses,
26 Defendant does not admit that Plaintiff does not have the burden of proof for any and all
27 facts underlying any of the names defenses or suggest that Defendant is required to carry
28 the burden as to such elements.

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 1         These defenses are pled in the alternative, are raised to preserve the rights of
 2 Defendant to assert such defenses, and are without prejudice to Defendant’s ability to raise
 3 other and further defenses. Defendant expressly reserves all rights to re-evaluate their
 4 defenses and/or assert additional defenses upon discovery and review of additional
 5 documents and information, upon the development of other pertinent facts, and during
 6 pretrial proceedings in this action.
 7                                   First Affirmative Defense
 8         Plaintiff’s claims, in whole or in part, fail to state claims upon which relief can be
 9 granted.
10                                  Second Affirmative Defense
11         The Court lacks subject matter jurisdiction over Plaintiff’s claims.
12                                  Third Affirmative Defense
13         Plaintiff’s claims are barred, in whole and/or in part, because the alleged injuries and
14 damages, if any, resulted from an intervening or superseding cause and/or causes.
15                                  Fourth Affirmative Defense
16         Plaintiff’s claims are barred, in whole and/or in part, because the acts or omissions
17 of other persons or entities, whether named or unnamed in the Complaint, over whom
18 Defendant had no supervision or control and for whose actions and omissions Defendant
19 has no legal responsibility, caused and/or contributed to the alleged damages.
20                                   Fifth Affirmative Defense
21         Plaintiffs’ claims are barred, in whole or in part, by the doctrines of laches, waiver,
22 and/or estoppel.
23                                   Sixth Affirmative Defense
24         The Complaint and each cause of action are barred because Plaintiff has failed to
25 bring this action within the prescribed time period for bringing such actions under any and
26 all applicable statutes of limitations.
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 1                                  Seventh Affirmative Defense
 2         Plaintiff is barred from recovery on the Complaint by the doctrine of unclean hands.
 3                                   Eighth Affirmative Defense
 4         For each and all of the actions alleged in the complaint, Plaintiff has failed to make
 5 reasonable efforts to mitigate any and all alleged injuries and damages, if any, and is
 6 therefore barred from recovery.
 7                                   Ninth Affirmative Defense
 8         Any and all damages alleged are set off by damages Plaintiff has cause to Defendant.
 9                                   Tenth Affirmative Defense
10         To the extent any alleged improper statement was made, such statements were not
11 false or misleading statements of material facts but were instead good faith sales practices.
12                                  Eleventh Affirmative Defense
13         Any alleged violations did not rise to the level of demonstrating a likelihood of
14 repetition such that injunctive relief is appropriate.
15                                  Twelfth Affirmative Defense
16         And alleged monetary relief should be offset by the benefit consumers received,
17 including refunds and costs associated with services provided.
18                                 Thirteenth Affirmative Defense
19         Defendant is not individually liable for the actions and/or omissions of others set
20 forth in the Complaint because he lacked the knowledge, control, and/or authority to
21 establish personal liability.
22                                 Fourteenth Affirmative Defense
23         The Complaint fails to establish grounds to impose joint and several liability for the
24 actions alleged therein.
25                                 Fifteenth Affirmative Defense
26         The Defendants, including the Corporate Defendants, did not operate as a “common
27 enterprise” and therefore Defendant is not liable for the actions and omissions of all other
28 named Defendants.

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 1                                Sixteenth Affirmative Defense
 2         The FTC lacks authority to seek the remedies requested, such as disgorgement, as
 3 they are not “equitable relief” as defined by statute.
 4                              Seventeenth Affirmative Defense
 5         Plaintiff is not entitled to any recovery from the Defendant because the alleged
 6 damages, if any, are speculative.
 7                               Eighteenth Affirmative Defense
 8         If Plaintiff is awarded any damages or recovers on any claims asserted in the
 9 Complaint, such an award would result in Plaintiff’s unjust enrichment.
10                                     Reservation of Rights
11         Defendant reserves the right to supplement this answer and to assert additional or
12 different affirmative defenses based upon evidence or information developed in discovery
13 or otherwise.
14                                   PRAYER FOR RELIEF
15         In light of the foregoing, Defendant prays for judgment as follows:
16         1.    That the Court enter judgment in favor of Defendant and against Plaintiffs on
17 the Complaint;
18         2.    That the Complaint and each claim contained therein be dismissed with
19 prejudice as to Defendant;
20         3.    That Plaintiff take nothing by reason of the Complaint against Defendant or
21 otherwise impose any remedies that impact Defendant;
22         4.    That the Court award Defendant his costs of suit incurred herein, including
23 attorneys’ fees; and
24         5.    That the Court order such other and further relief as the Court may deem just
25 and proper.
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                                       ANSWER TO COMPLAINT
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 1                                  DEMAND FOR JURY TRIAL
 2         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Defendant demands a
 3 trial by jury in this action of all issues so triable.
 4
 5    Dated: December 27, 2019                      BIENERT | KATZMAN PC
 6
 7                                                  By:
                                                          Thomas H. Bienert, Jr.
 8
                                                          Ariana Seldman Hawbecker
 9                                                        Ali Matin
                                                          Attorneys for Defendants
10
                                                          Carey G. Howe, Ruddy Palacios,
11                                                        Shunmin Hsu, and Oliver Pomazi
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                                        ANSWER TO COMPLAINT
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 1                                CERTIFICATE OF SERVICE
 2
            I, Garrison Giali, declare that I am a citizen of the United States and am employed in
 3   Orange County, California; my business address is 903 Calle Amanecer, Suite 350, San
     Clemente, California 92673. I am over the age of 18 and not a party to the above entitled
 4
     action. I am employed by a member of the United States District Court, and at whose
 5   direction I caused service of the following DEFENDANT CAREY HOWE’S ANSWER
     TO THE FEDERAL TRADE COMMISSION’S COMPLAINT on all parties in this
 6
     action via the method of service described below.
 7
 8 [X]     BY ELECTRONIC TRANSMISSION: by electronically filing the foregoing with
 9         the Clerk of the District Court using its CM/ECF System pursuant to the Electronic
           Case Filing provision of the United States District Court General Order and the
10         EGovernment Act of 2002, which electronically notifies said parties in this case:
11
     Stephen Fairchild                          Thomas McNamara
12   Richard McKewen                            Edward Chang
13   Federal Trade Commission                   Sanjay Bhandari
     915 2nd Avenue, Suite 2896                 McNamara Smith LLP
14   Seattle, WA 98174                          655 W. Broadway, Suite 1600
15   sfairchild@ftc.gov                         San Diego, CA 92101
     rmckewen@ftc.gov                           echang@mcnamarallp.com
16                                              sbhandari@mcnamarallp.com
17   Robert Quigley
     Federal Trade Commission
18   10990 Wilshire Blvd, Suite 400
19   Los Angeles, CA 90024
     rquigley@ftc.gov
20
21       I declare under penalty of perjury under the laws of the United States of America that
   the foregoing is true and correct. Executed on December 27, 2019, at San Clemente,
22 California.
23                                                      ___________________________
                                                              Garrison M. Giali
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                                      ANSWER TO COMPLAINT
